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                                                                    USDC SDNY
                                                                    DOCUMENT
UNITED STATES DISTRICT COURT                                        ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                       DOC #:
 -------------------------------------------------------------- X   DATE FILED: 10/16/2017
 UNITED STATES OF AMERICA,                                      :
                                                                :      15-CR-565 (VEC)
                 -against-                                      :
                                                                :          ORDER
 KEVIN JOHNSON,                                                 :
                                          Defendant.            :
 -------------------------------------------------------------- X
VALERIE CAPRONI, United States District Judge:

        WHEREAS the Office of Chief Medical Examiner has stated that it does not oppose

vacating the protective order as it relates to the FST source code [Dkt. 148];

        WHEREAS the United States has stated that it does not oppose ProPublica’s Motion for

Leave to Intervene, Lift the Protective Order, and Unseal Judicial Records [Dkt. 146];

        WHEREAS the Second Circuit has recognized the right of public access to judicial

records (see Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006));

        WHEREAS this Court ordered all parties to show cause by Friday, October 13, 2017,

why the Court should not unseal all sealed and redacted records in this matter [Dkts. 149, 150];

        WHEREAS Defendant Kevin Johnson requested that redacted materials related to his and

another’s personal genetic profiles, as well as redacted content in his sentencing submission,

remain sealed [Dkt. 151]; and

        WHEREAS two of the documents containing redacted personal genetic information also

contain redacted information related to the FST source code that this Court seeks to unseal [Dkts.

99-5, 110-1];

        IT IS HEREBY ORDERED that the following items remain under seal: Appendix I to

Defendant’s memorandum in support of his motion in limine [Dkt. 99-1]; Exhibits C, P, and Q to

Defendants memorandum in support of his motion in limine [Dkts. 99-5, 99-18, 99-19]; Exhibit
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A to Defendant’s reply memorandum in support of his motion in limine [Dkt. 110-1]; and

Exhibits A and B to Defendant’s sentencing submission [Dkts. 132-1, 132-2].

       IT IS HEREBY FURTHER ORDERED that, with the exception of the records listed

immediately above, all sealed and redacted materials in this matter are unsealed.

       IT IS HEREBY FURTHER ORDERED that Defendant refile Exhibit C to his

memorandum in support of his motion in limine [Dkt. 99-5], and Exhibit A to his reply

memorandum in support of his motion in limine [Dkt. 110-1], removing all redactions except

those related to Defendant’s and another’s personal genetic profiles, namely in Figures C.4 and

C.9, and Figures A.1, A.2, and A.3, respectively.




SO ORDERED.

                                                    _________________________________
                                                     _____________________________
Date: October 16, 2017                              VALERIE CAPRONI
      New York, New York                            United States District Judge
